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                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig Deepwater Horizon
in the Gulf of Mexico, on April 20, 2010,                     MDL NO. 2179

                                                              Case No. 2:11‐CV‐03180
THANH HAI, INC.; TONY NGUYEN; KHANG VAN
DANG, and the more than 700 persons named                     SECTION: J
herein,
                                                              Judge Barbier
                        Plaintiffs,                           Magistrate Judge Shushan
vs.

BP AMERICA PRODUCTION COMPANY; BP
EXPLORATION AND PRODUCTION, INC.;
ANADARKO PETROLEUM CORPORATION;
MOEX OFFSHORE 2007, LLC; MOEX USA
CORPORATION; MITSUI OIL EXPLORATION CO.,
LTD.; TRANSOCEAN HOLDINGS LLC; TRITON
ASSET LEASING GMBH; TRANSOCEAN
DEEPWATER, INC.; TRANSOCEAN OFFSHORE
DEEPWATER DRILLING, INC.; TRANSOCEAN
LTD.; CAMERON INTERNATIONAL
CORPORATION F/K/A COOPER‐CAMERON
CORPORATION; HALLIBURTON ENERGY
SERVICES, INC.; M‐I, LLC, WEATHERFORD U.S.
L.P.,

                        Defendants.


_________________________________________________________________________________________________________

                                                ORDER
_________________________________________________________________________________________________________

        Considering the foregoing Motion and Incorporated Memorandum in Support of Motion

for Leave to File Complaint for Intervention, filed by Stephen S. Kreller of The Kreller Law
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Firm, Gerard M. Nolting, William L. Roberts, and Craig S. Coleman of Faegre Baker Daniels,

LLP (formerly Faegre & Benson, LLP), and Duncan Lott and Casey L. Lott of Langston &

Lott, PA,

       IT IS HEREBY ORDERED: that the Plaintiff’s Motion is GRANTED.

       New Orleans, Louisiana, this __________ day of June, 2012.



                                   ________________________________________
                                   UNITED STATES DISTRICT JUDGE
